Case 1:18-cv-00502-JAO-KJMcC-. TAO 21 Filed 03/22/19 Page 1 of 3
                            Document                                       PageID #: 501


                             ORIGINAL                              FILED IN THE
                                                            UNITED STATES DISTRICT COURT
  Ya-Wen Hsiao
                                                               DISTRICT OF HAWAII
  1141 Hoolai St. Apt 201
  Honolulu HI 96814                                                MAR 2 2 2019
  808-728-2646                                              at^ o'clock anci51 min.fl M
                                                                SUE BEITIA, CLERKi
  rabbitvhsiao@gmail.com
  Pro Se




                   IN THE UNITED STATES DISTRICT COURT


                         FOR THE DISTRICT OF HAWAII



   YA-WEN HSIAO,                             CIVIL NO. 18-CV-00502-JAO-KJM


                     Plaintiff,              Plaintiffs Notice of Withdrawal of
                                             Opposition to Defendants Motion to
        vs.                                  Dismiss(ECF 14)

   ALEXANDER ACOSTA,in his
   capacity as the United States Secretary
   of Labor,                                 Hearing Date: June 7, 2019
                                             Dearing Time: 11:00 AM
                   Defendant.                Place: Aha Kanawai
                                             Before: Honorable Judge Jill A. Otake
Case 1:18-cv-00502-JAO-KJM Document 21 Filed 03/22/19 Page 2 of 3            PageID #: 502




                                        Notice



  Pursuant to ECF 20,Plaintiff hereby gives notice to the court that she is withdrawing
  the Opposition to Defendants Motion to Dismiss filed on March 6, 2019(ECF 14).
 An opposition addressing the arguments made in the original Motion to Dismiss
 (ECF 13) and Notice of Errata(ECF 17) will be filed on or before May 17, 2019 as
  prescribed by Local Rule 7.4.
  Thank you.
  Respectfully Submitted on: March 22, 2019




                                                                         Ya-Wen Hsiao

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                                                                  Honolulu, HI 96814

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                                                              CIVIL NO. 18-CV-00502-JAO-KJM
Case 1:18-cv-00502-JAO-KJM Document 21 Filed 03/22/19 Page 3 of 3          PageID #: 503



                           CERTIFICATE OF SERVICE




  The undersigned hereby certifies that on the date stated below, a true and correct
  copy of the foregoing document was duly served upon the following by USPS First
  Class mail.




  Harry Yee
  FJKK Federal Building
  300 Ala Moana Blvd. Room 6-100
  Honolulu HI 96850




  Samuel P Go
  USDOJ/CIVIL/OIL/DCS
  P.O. Box 868
  Ben Franklin Station
  Washington, D.C. 20044




  Ya-Wen Hsiao
  Dated: March 22,2019, Honolulu HI




                                                            CIVIL NO. 18-CV-00502-JAO-KJM
